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                                                                                        E-FILED
                    IN THE UNITED STATES DISTRICT COURT Friday, 10 April, 2020 12:06:54 PM
                          CENTRAL DISTRICT OF ILLINOIS       Clerk, U.S. District Court, ILCD
                          ROCKLAND DIVISION




CIARA VESEY
                    Plaintiff


            V                                       Case number 4:18-cv-04124-SLD-JEH
ENVOY AIR, INC. d/b/a AMERICAN
EAGLE AIRLINES, INC.,

                    Defendant



                                 NOTICE OF APPEAL

     Plaintiff CIARA VESEY does hereby appeal the decision of this Court entered on

March 12, 2020.




                                         Signed:   /s/ Carla D. Aikens, Esq.

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